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     Federal Defender
 2   CHRISTINA SINHA, SBN 278893
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 6   Attorneys for Defendant
     GARY STEPHEN MAYNARD
 7
 8                                IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                   )   Case No. 2:21-CR-224-TLN
11                                               )
                     Plaintiff,                  )   STIPULATION AND ORDER TO CONTINUE
12                                               )   STATUS CONFERENCE AND EXCLUDE TIME
                         vs.                     )
13                                               )   Date: June 2, 2022
       GARY STEPHEN MAYNARD,                     )   Time: 9:30 a.m.
14                                               )   Judge: Hon. Troy L. Nunley
                    Defendant.                   )
15                                               )

16           IT IS HEREBY STIPULATED and agreed by and between Acting United States
17   Attorney Phillip A. Talbert, through Assistant United States Attorney Michael Anderson, counsel
18   for Plaintiff, and Federal Defender Heather Williams, through Assistant Federal Defender
19   Christina Sinha, counsel for Dr. Maynard, that the status conference may be continued to July
20   28, 2022 at 9:30 a.m. with an exclusion of time.
21           The parties specifically stipulate as follows:
22           1.      By previous order, this matter was set for a status on June 02, 2022.
23           2.      By stipulation, the defense now moves to continue the status conference to July
24                   28, 2022, with time between June 02, 2022 and July 28, 2022 excluded.
25           3.      The discovery in this case includes over 10,000 pages of reports and other
26                   documents; it also includes electronic data, such as video recordings.
27           4.      The expert review of the complex data involved is ongoing, and the defense team
28

      Stipulation and Order to Continue Status            -1-                     United States v. Maynard,
      Conference and Exclude Time                                                        2:21-CR-224-TLN
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 1                  continues to confer with their experts as their analysis continues. Defense counsel

 2                  represents that they requires additional time to: continue reviewing the discovery;

 3                  investigate and research possible defenses; research potential pretrial motions;
 4                  continue consulting with their experts; explore potential resolutions to the case;
 5                  and otherwise prepare for trial.
 6          5.      Defense counsel believes that failure to grant the requested continuance would
 7                  deny them the reasonable time necessary for effective preparation, taking into
 8                  account the exercise of due diligence.
 9          6.      The government does not object to the continuance.
10          7.      Therefore, the parties stipulate that the ends of justice served by granting the
11                  continuance outweighs the best interest of the public and Dr. Maynard in a speedy
12                  trial, and request the Court so to find.
13          8.      For the purpose of computing time under 18 U.S.C. § 3161 et seq. (Speedy Trial
14                  Act), the parties request that the time period between June 02, 2022 and July 28,
15                  2022, inclusive, be deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv)
16                  (Local Code T4), because it would result from a continuance granted by the Court
17                  at the defense’s request, based on a finding that the ends of justice served by
18                  granting the continuance outweighs the best interest of the public and Dr.
19                  Maynard in a speedy trial.
20                   (Remainder of page intentionally left blank. Signatures to follow.)
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     Stipulation and Order to Continue Status          -2-                         United States v. Maynard,
     Conference and Exclude Time                                                          2:21-CR-224-TLN
       Case 2:21-cr-00224-TLN Document 50 Filed 06/01/22 Page 3 of 4


 1                                               Respectfully submitted,

 2                                               HEATHER E. WILLIAMS
                                                 Federal Defender
 3
     Date: May 31, 2022                          /s/ Christina Sinha
 4                                               CHRISTINA SINHA
                                                 Assistant Federal Defender
 5                                               Attorneys for Defendant
                                                 GARY STEPHEN MAYNARD
 6
 7   Date: May 31, 2022                          PHILLIP A. TALBERT
                                                 United States Attorney
 8
 9                                               /s/ Michael Anderson
                                                 MICHAEL ANDERSON
10                                               Assistant United States Attorney
                                                 Attorneys for Plaintiff
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      Stipulation and Order to Continue Status     -3-                        United States v. Maynard,
      Conference and Exclude Time                                                    2:21-CR-224-TLN
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 1                                                ORDER

 2           The Court, having received and considered the parties’ stipulation, and good cause

 3   appearing therefrom, adopts the parties’ stipulation in its entirety as its order.
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 5   IT IS SO ORDERED.
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 7   Dated: June 1, 2022
                                                             Troy L. Nunley
 8                                                           United States District Judge
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      Stipulation and Order to Continue Status         -4-                           United States v. Maynard,
      Conference and Exclude Time                                                           2:21-CR-224-TLN
